Case 2:22-cv-00239-DBB-CMR Document 2 Filed 04/06/22 PageID.3 Page 1 of 22




Jason A. McNeill (9711)
  mcneill@mvmlegal.com
Eric K. Schnibbe (8463)
  schnibbe@mvmlegal.com
B. Scott Allen (15980)
 allen@mvmlegal.com
MCNEILL | VON MAACK
175 South Main Street, Suite 1050
Salt Lake City, Utah 84111
Telephone: 801.823.6464

Attorneys for Plaintiff Chirp Products, LLC

                         IN THE UNITED STATES DISTRICT COURT
                         DISTRICT OF UTAH, CENTRAL DIVISION

CHIRP PRODUCTS, LLC, a Utah limited                  COMPLAINT AND DEMAND FOR JURY
liability company,                                   TRIAL

       Plaintiff,
v.

PLEXUS YOGA LLC, a Washington
limited liability company,                           Case No.: 2:22-cv-00239-DBB

       Defendant.                                    Honorable David Barlow


       Plaintiff Chirp Products, LLC (“Plaintiff” or “Chirp”) through counsel MCNEILL VON

MAACK, hereby alleges and complains against Defendant Plexus Yoga LLC (“Defendant” or

“Plexus”) as follows:

                                 NATURE OF THE ACTION

       1.      In this action, Plaintiff seeks injunctive and monetary relief for trademark

infringement and unfair competition under the Lanham Act, 15 U.S.C. § 1125 et seq., and for

violation of the Utah Unfair Competition and Practices Acts, Utah Code Ann. § 13-5-101 et seq.




                                                 1
Case 2:22-cv-00239-DBB-CMR Document 2 Filed 04/06/22 PageID.4 Page 2 of 22




                                            PARTIES

         2.     Plaintiff Chirp Products, LLC is a Utah limited liability company with its

principal place of business located at 2435 West 450 South, Suite 101, Pleasant Grove, UT

84062.

         3.     Defendant Plexus Yoga LLC is a Washington limited liability company with its

principal place of business located at 12184 South Business Park Dr., Suite A, Draper at 12500

Utah 84020.

                                 JURISDICTION AND VENUE

         4.     This action arises under the Federal Lanham Act, 15 U.S.C. § 1125(a), 15 U.S.C.

§ 1119, and the Utah Unfair Competition and Practices Acts, Utah Code Ann. § 13-5-101, et seq.

         5.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§§ 1331 and 1367.

         6.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) and (c) because

Defendant’s contacts with Utah are sufficient to create personal jurisdiction over Defendant in

Utah and because a substantial part of the events giving rise to the claims in this action occurred

within this District.

         7.     This Court has personal jurisdiction over Defendant because Defendant has

sufficient minimum contacts with the State of Utah, including by having its principal place of

business in Utah, actively carrying on business in Utah, and entering an agreement in Utah that

forms part of the basis of this action.




                                                 2
Case 2:22-cv-00239-DBB-CMR Document 2 Filed 04/06/22 PageID.5 Page 3 of 22




       8.      Personal jurisdiction exists over Defendant because Defendant has an interactive

website that directs customers to local retailers where Defendant’s infringing product is available

for purchase in Utah:




[https://gochirp.com/products/chirp-wheel-pro (last visited March 12, 2022) (red arrow added).]

       9.      By clicking on the “Store Locator” hyperlink, customers are redirected to a listing

of retail stores by which customers can search by zip code. Within 25 miles of the zip code

84111, within Salt Lake City, UT, retail locations include Best Buy, Target, and Scheels. By

doing business in Utah by marketing and offering its product, which uses an infringing

trademark, for sale in Utah, Defendant is thus causing harm to Plaintiff within Utah.

       10.     Personal jurisdiction also exists over Defendant because Plaintiff informed

Defendant of its infringing activities and Defendant has continued to use its infringing mark even

after receiving notice that it was infringing on Plaintiff’s trademark. Thus, the brunt of harm


                                                 3
Case 2:22-cv-00239-DBB-CMR Document 2 Filed 04/06/22 PageID.6 Page 4 of 22




suffered by Plaintiff based on Defendant’s continued and unlawful use of an infringing

trademark has been suffered by Plaintiff in Utah.

                                  GENERAL ALLEGATIONS

       11.     Plaintiff manufactures, distributes, and sells products used in connection with

electric brushes and brush heads for cleaning, exfoliation, and ancillary massage purposes.

Plaintiff has been and continues to develop additional related products.

       12.     Since at least as early as March 5, 2018, Plaintiff has used the CHIRP trademark

throughout the United States in connection with the advertising, promotion, and sale of its

products that are described in U.S. Trademark Application No. 87/820,788 (the “Chirp Products

Application”) for “Electric face cleansing brush; Power-operated brush used to clean and

exfoliate the skin; Electric brush for skin care; Electric toothbrush; Electric cleaning brush for

household use; Brush head for electric face cleansing brush; Brush head for electric cleaning

brush for household use; Brush head for electric toothbrush.”

       13.     Plaintiff’s use of the CHIRP mark resulted in the acquisition of nationwide

common law rights in the CHIRP trademark.

       14.     Since at least as early as March 5, 2018, Plaintiff has invested significantly to

develop, promote, and maintain the CHIRP mark throughout the United States.

       15.     Since March 5, 2018, Plaintiff has sold thousands of units of electric powered

products using the CHIRP mark nationwide, such that consumers now associate CHIRP as the

sole source of those products.




                                                  4
Case 2:22-cv-00239-DBB-CMR Document 2 Filed 04/06/22 PageID.7 Page 5 of 22




        16.     As a result of substantial sales and extensive advertising and promotion, the

CHIRP mark has become widely and favorably known as identifying Plaintiff’s electric powered

products and has become an intellectual property asset of considerable value.

        17.     The CHIRP trademark was duly registered on March 10, 2020, and assigned

Registration Number 6,008,485. Registration Number 6,008,485 and the common law rights

obtained through Plaintiff’s use of the CHIRP mark are collectively referred to herein as the

“CHIRP mark.” A true and correct copy of the Registration Certificate of the Mark is attached

as Exhibit “1” and incorporated by reference.

        18.     Registration Number 6,008,485 is valid and subsisting and therefore constitutes

prima facie evidence of the validity of the Chirp mark set forth in the registration and of

Plaintiff’s exclusive right to use the mark in connection with the goods set forth in the

registration.

        19.     The registration also constitutes constructive notice to all other parties of

Plaintiff’s ownership of the CHIRP mark pursuant to 15 U.S.C. § 1072.

        20.     Based on the substantial sales and extensive advertising of CHIRP, CHIRP has

acquired secondary meaning.

        21.     Plaintiff has and continues to maintain a protectable interest in the CHIRP mark

by virtue of its continued use of the CHIRP mark in commerce.

                  Defendant’s First Attempt to Register Infringing Marks and the
                         Co-Existence and Mutual Consent Agreement

        22.     On July 23, 2018, Defendant filed an intent-to-use application (the “First Plexus

Yoga Application”) with the U.S. Patent and Trademark Office (“USPTO”) to register the mark

“CHIRP” (the “First Plexus Yoga Mark”'), including for “massage apparatus; massage mitts;


                                                  5
Case 2:22-cv-00239-DBB-CMR Document 2 Filed 04/06/22 PageID.8 Page 6 of 22




gloves for massage; massage apparatus and instruments; foot massage apparatus; massage

apparatus; electric massage apparatus for household use; electric massage appliances, namely,

electric vibrating massager; cups for use in massage therapy; massaging apparatus for personal

use; electric foot spa massagers,” as described the First Plexus Yoga Application, U.S.

Trademark Application No. 88/049,055.

       23.     On February 12, 2019, Plaintiff filed an opposition to the First Plexus Yoga

Application in connection with the goods alleged above in International Class 10. Plaintiff’s

opposition did not challenge registration of the First Plexus Yoga Application with respect to

other goods recited therein.

       24.     In order to ensure there was no consumer confusion between Plaintiff’s CHIRP

mark and the First Plexus Yoga Mark, Plaintiff and Defendant entered that certain Co-Existence

and Mutual Consent Agreement with an effective date of August 13, 2019 (“Agreement”), a true

and correct copy of which is attached as Exhibit “2” and incorporated by reference.

       25.     In the Agreement, Plaintiff and Defendant agreed that the critical distinction

between Plaintiff’s and Defendant’s respective products necessary to avoid consumer confusion

was that Plaintiff used its CHIRP mark with goods advertised and sold that were powered and

that Defendant did not use the First Plexus Yoga Mark with powered products. Conversely,

Defendant admitted that if it advertised and sold goods that were powered that doing so would

result in consumer confusion.

       26.     As the Agreement provides:

       The principal reason why the parties believe that confusion is unlikely is that the
       goods advertised and sold under the Chirp Products Mark are, and will continue to
       be, powered brushes, powered massagers, and other powered devices and heads
       for such, whereas the goods advertised and sold under the [First] Plexus Yoga


                                                6
Case 2:22-cv-00239-DBB-CMR Document 2 Filed 04/06/22 PageID.9 Page 7 of 22




       Mark will not include any powered massage or brush products or accessories for
       such. Given the different modes of use of the parties respective products,
       consumers in the U.S. are unlikely to be mistaken or confused with regard to the
       source of those respective products.

[Agreement at 1 (emphasis added), Ex. 2.]

       27.     Pursuant to Section 1 of the Agreement’s Terms and Conditions, Plaintiff “agrees

not to sell non-powered massage devices under the Chirp Products Mark provided that it may

sell replacement heads and non-powered accessories for its powered massage and other devices.”

[Agreement at 2, § 1, Ex. 2.]

       28.     Pursuant to Section 3 of the Agreement’s Terms and Conditions, Defendant

“agrees not to sell any powered massage products under the [First] Plexus Yoga Mark or to apply

to register the Plexus Yoga Mark for any electric-powered massage, brush, or related products.”

[Agreement at 2, § 3 (emphasis added), Ex. 2.]

       29.     Moreover, in Section 3 of the Agreement’s Terms and Conditions, Defendant

agreed to amend the First Plexus Yoga Application to expressly state that Defendant’s use of the

first Plexus Yoga Mark would be used with regard to products, including massage products, that

are “not electric powered.” Accordingly, the First Plexus Yoga Application was actually

amended to state its use with the following goods:

       Medical apparatus, namely, inversion tables for therapeutic purposes; massage
       mitts, not electric powered; massage chairs; massage chairs with built-in massage
       apparatus, not electric powered; gloves for massage, not electric powered;
       massage beds for medical purposes; cups for use in massage therapy, not electric
       powered; massagers in the nature of electromechanical massage mechanism for
       chairs; chemically activated hot and cold gel packs for medical purposes; cervical
       pillows for medical use; soporific pillows for insomnia; therapeutic weighted
       blankets; therapeutic weighted products, namely, weighted blankets, lap pads and
       vests designed for clinical and home use to provide proprioceptive input to the
       body; stretching machines for therapeutic purposes.



                                                 7
Case 2:22-cv-00239-DBB-CMR Document 2 Filed 04/06/22 PageID.10 Page 8 of 22




(Emphasis added.)

          30.    On May 24, 2021, the USPTO served Defendant a Notice of Abandonment due to

nonreceipt of a statement of use or request for extension of time to file a statement of use.

          31.    Further, pursuant to Section 8 of the Agreement, the Plaintiff and Defendant

agreed:

          In the event that either party materially breaches this Agreement and such breach
          is not cured to the reasonable satisfaction of the aggrieved party within the earlier
          of ten (10) business days from the date that the breaching party receives written
          notice of such breach from the aggrieved party … such aggrieved party shall be
          entitled to commence a legal and/or administrative proceeding against the other
          party relating to use and registration of any of the marks that are the subjects of
          this Agreement, and may seek an injunction requiring specific performance by the
          breaching party….

[Agreement at 3, § 8, Ex. 2.]

          Defendant’s Further Attempts to Register Infringing Marks and Breach of the Agreement

          32.    On September 20, 2021, Defendant filed an intent-to-use application (the “Second

Plexus Yoga Application”) with the USPTO to register the mark “CHIRP WHEEL PRO” (the

“Second Plexus Yoga Mark”), U.S. Trademark Application No. 97/035,602.

          33.    On November 15, 2021, Defendant filed an amendment to the Second Plexus

Application, modifying the description of Defendant’s intent to use the Second Plexus Yoga

mark as for “Medical apparatus, namely, spinal traction and stretching wheels to stretch the

spine, reduce pressure on spinal discs, and to keep, maintain, and correct the curvature of the

spine; therapeutic wheels for stretching the spine; foam massage rollers; foam rollers for use in

physical therapy; massage apparatus, electric powered; massage apparatus and instruments,

electric powered; foot massage apparatus, electric powered; massage apparatus, electric

powered; massaging apparatus for personal use, electric powered.” The amended description


                                                   8
Case 2:22-cv-00239-DBB-CMR Document 2 Filed 04/06/22 PageID.11 Page 9 of 22




removed repeated references to “not electric powered” and replaced them with “electric

powered.”

        34.    On December 6, 2021, Defendant filed a currently-in-use application (the “Third

Plexus Yoga Application”) with the USPTO to register the mark “CHIRP” (the “Third Plexus

Yoga Mark”), including for “Electric massage rollers; Massage apparatus; Massage apparatus

and instruments; Massaging apparatus for personal use; Foot massage apparatus,” as described in

the Third Plexus Yoga Application, U.S. Trademark Application No. 97/157,896. The Third

Plexus Yoga Application does not contain in its description the limitation of “not electric

powered.” The Third Plexus Yoga Application asserts a first use in commerce of November 1,

2021.

        35.    The Second and Third Plexus Yoga Applications have not yet been published for

opposition.

        36.    Defendant’s Second Plexus Yoga Application was filed as intent-to-use

applications because Defendant had not used the Second or Third Plexus Yoga Marks in

commerce at the time Defendant filed the Second Plexus Yoga Application.

        37.    The Second Plexus Yoga Mark, “CHIRP WHEEL PRO,” has not acquired

secondary meaning.

        38.    The Third Plexus Yoga Mark, “CHIRP,” has not acquired secondary meaning

relative to Defendant.

        39.    The Second Plexus Yoga Mark, “CHIRP WHEEL PRO,” is not inherently

distinctive.




                                                 9
Case 2:22-cv-00239-DBB-CMR Document 2 Filed 04/06/22 PageID.12 Page 10 of 22




         40.     On or about November 1, 2021, Defendant began using its infringing Second and

Third Plexus Yoga Marks (collectively, the “Infringing Marks”) in commerce for the first time.

         41.     Defendant has used the Infringing Marks in connection with its sale of a product

named Chirp Wheel Pro through direct and third-party ecommerce platforms (such as Amazon),

resellers, and distributors, which Defendant states is a massager, electric powered, including by:

     •         describing it as “Chirp Wheel Pro, Vibrating Foam Roller for Back Pain Relief,

               Muscle Therapy, and Deep Tissue Massage - 8 Inch, Black”

     •         providing an “[a]bout this item” description as “WARM UP BETTER, RECOVER

               FASTER: The Chirp Wheel Pro features a vibrating core with 3 different power

               levels to increase blood flow and penetrate deeper to help muscles in your back

               warm up better and recover faster.”

     •         stating that the product has “powered” vibration:




                                                  10
Case 2:22-cv-00239-DBB-CMR Document 2 Filed 04/06/22 PageID.13 Page 11 of 22




[See https://www.amazon.com/Chirp-Vibrating-Roller-Therapy-

Massage/dp/B09PSN91N3?ref_=ast_sto_dp&th=1&psc=1, (last visited March 28, 2022).]

                         Plaintiff Notifies Defendant of its Infringement

       42.     On February 16, 2022, Plaintiff sent a demand letter to Defendant notifying

Defendant that it was infringing on Plaintiff’s CHIRP mark by manufacturing, marketing, and

selling its CHIRP WHEEL PRO (the “Demand Letter”). A true and correct copy of the demand

letter is attached as Exhibit “3” and incorporated by reference.



                                                11
Case 2:22-cv-00239-DBB-CMR Document 2 Filed 04/06/22 PageID.14 Page 12 of 22




        43.    The Demand Letter informed Defendant of Plaintiff’s senior rights in CHIRP and

demanded that Defendant immediately cease its use of the Infringing Marks.

        44.    Defendant refused to cease its use of the Infringing Marks.

        45.    Defendant has continued to use its Infringing Marks in connection with the

advertising and sale of its CHIRP WHEEL PRO after receiving the Demand Letter.

        46.    More than ten (10) business days has elapsed from the date that Defendant

received written notice of its material breaches of the Agreement pursuant to the Demand Letter.

  Defendant’s Infringing Marks are Identical or Confusingly Similar to Plaintiff’s CHIRP Mark

        47.    Defendant’s Infringing Marks are virtually identical in sight, sound, and meaning

to the CHIRP mark.

        48.    Both Plaintiff’s mark and Defendant’s Infringing Marks use the word CHIRP.

        49.    Defendant’s addition of “WHEEL PRO” does not remedy the potential confusion

between the CHIRP mark and Defendant’s Infringing Marks.

          There is a Likelihood of Confusion Between the Infringing Marks and CHIRP

        50.    Defendant’s use of the Infringing Marks is likely to cause confusion among

consumers, particularly as it relates to the source, origin, or affiliation between Defendant and

Plaintiffs.

        51.    A likelihood of confusion exists between the Infringing Marks and the CHIRP

mark because the marks are virtually identical.

        52.    A likelihood of confusion exists between the Infringing Marks and the CHIRP

mark because both Plaintiff and Defendant market and sell electric powered massage products

through similar or identical commercial channels.



                                                  12
Case 2:22-cv-00239-DBB-CMR Document 2 Filed 04/06/22 PageID.15 Page 13 of 22




       53.    Plaintiff markets and sells its products bearing the CHIRP mark online through

such websites as www.amazon.com and https://chirpproducts.com/products/chirp.

       54.    Defendant also markets and sells its products bearing the Infringing Marks

through brick-and-mortar stores and online.

                             FIRST CLAIM FOR RELIEF
                       (Trademark Infringement – 15 U.S.C. § 1114)

       55.    Plaintiff hereby incorporates by reference the allegations contained in the above

paragraphs.

       56.    Defendant does not have authorization to use the CHIRP mark.

       57.    The CHIRP mark is distinctive and entitled to protection as a trademark.

       58.    The CHIRP mark has acquired secondary meaning as a result of its substantial

commercial success.

       59.    Plaintiff owns the CHIRP mark.

       60.    Plaintiff has obtained nationwide common law rights in the CHIRP mark by

virtue of its continuous use of the CHIRP mark in commerce.

       61.    The CHIRP mark has been properly registered with the United States Patent and

Trademark Office.

       62.    Registration of the CHIRP mark constitutes prima facie evidence of the validity,

ownership, and right to exclusive use of the CHIRP mark, and provides constructive notice of

ownership.

       63.    Plaintiff’s rights in and to the CHIRP mark predate Defendant’s use of the

Infringing Marks.




                                               13
Case 2:22-cv-00239-DBB-CMR Document 2 Filed 04/06/22 PageID.16 Page 14 of 22




        64.    Defendant has used and continues to use the Infringing Marks in connection with

the sale, offering for sale, distribution, or advertising of goods or services, including with regard

to goods that compete with goods offered by Plaintiff.

        65.    Defendant’s continued use of the Infringing Marks is likely to cause confusion

among consumers as to the source of the parties’ respective goods and services.

        66.    Defendant’s continued use of the Infringing Marks is willful and/or in bad faith

because Defendant received actual notice of Plaintiffs’ ownership and senior rights to the CHIRP

mark.

        67.    As a direct and proximate result of Defendant’s unauthorized use of the Infringing

Marks, Plaintiff has suffered irreparable harm and damages in an amount to be proven at trial.

        68.    Plaintiff is entitled to an injunction prohibiting Defendant from further using the

Infringing Marks.

        69.    Plaintiff is entitled to recover the profits Defendant has derived in connections

with its unauthorized use of the Infringing Marks.

        70.    Plaintiff is entitled to recover their damages incurred as a result of Defendant’s

unauthorized use of the Infringing Marks.

        71.    Pursuant to 15 U.S.C. § 1117(a), Plaintiff is entitled to recover the attorney fees

and costs incurred in pursuing this claim because this is an exceptional case.

                               SECOND CLAIM FOR RELIEF
                          (Unfair Competition under 15 U.S.C. § 1125)

        72.    Plaintiff hereby incorporates by reference the allegations contained in the above

paragraphs.




                                                 14
Case 2:22-cv-00239-DBB-CMR Document 2 Filed 04/06/22 PageID.17 Page 15 of 22




       73.     This is a claim for unfair competition, arising from Defendant’s unlawful acts,

including, without limitation, use of a false designation of origin which is likely to cause

confusion, mistake, or deception as to origin, sponsorship, or approval, in violation of Section

43(a) of the Lanham Act, 15 U.S.C. § 1125(a).

       74.     Defendant’s conduct also constitutes an attempt to trade on the goodwill that

Plaintiff has developed in the CHIRP mark.

       75.     By its conduct, Defendant has caused Plaintiff irreparable harm, damage, and

injury, including to the value and goodwill of Plaintiff’s CHIRP mark, as well as to Plaintiff’s

business, goodwill, and reputation.

       76.     Upon information and belief, Defendant will continue to commit the acts

complained of in this Complaint unless restrained and enjoined by this Court.

       77.     Plaintiff has no adequate remedy at law.

       78.     Such actions of Defendant constitute unfair competition and are in violation of the

Lanham Act, 15 U.S.C. § 1125(a).

       79.     Upon information and belief, Defendant’s conduct is part of a deliberate plan to

trade on the valuable goodwill established therein and was done for the intentional purpose of

misleading the public into believing that Defendant’s products are in some way sponsored by,

affiliated with or connected to the Plaintiff’s products advertised and sold under the CHIRP

mark, all of which are contrary to fact and irreparably harmful to Plaintiff’s reputation and good

will it has developed.




                                                 15
Case 2:22-cv-00239-DBB-CMR Document 2 Filed 04/06/22 PageID.18 Page 16 of 22




        80.    Plaintiff has been and will continue to be irreparably harmed by Defendant’s

conduct unless this Court enjoins Defendant from its unlawful conduct pursuant to 15 U.S.C. §

1116.

        81.    As a result of Defendant’s deliberate and willful conduct, Plaintiff is entitled to

damages, Defendant’s profits, attorney fees and costs, and any and all other relief authorized by

15 U. S. C. § 1117.

                               THIRD CLAIM FOR RELIEF
                      (Declaratory Judgment of Trademark Invalidity)

        82.    Plaintiff hereby incorporates by reference the allegations contained in the above

paragraphs.

        83.    As set forth herein, Plaintiff is the senior user of the CHIRP trademark for electric

powered massage products, having established nationwide use of the CHIRP mark in commerce

prior to Defendant’s earliest priority date and properly registering the CHIRP mark with the

United States Patent and Trademark Office, with Registration Number 6,008,485.

        84.    A real and justiciable controversy exists between the parties based on Defendant’s

continued use of its confusingly similar Infringing Marks and Defendant’s right to use the

Infringing Marks vis-à-vis Plaintiff’s senior rights in and to the CHIRP mark.

        85.    Due to Plaintiff’s prior and senior rights to the CHIRP mark for electric powered

massage products in the United States, any purported trademarks in the Infringing Marks owned

by Defendant are invalid pursuant to 15 U.S.C. § 1052(d) and other applicable law.

        86.    As a result, Plaintiff is entitled to a declaration that Defendant’s Infringing Marks

are invalid and Plaintiff has prior and senior rights to the CHIRP mark for electric powered

massage products in the United States, pursuant to 28 U.S.C. §§ 2201 and 2202.


                                                16
Case 2:22-cv-00239-DBB-CMR Document 2 Filed 04/06/22 PageID.19 Page 17 of 22




                            FOURTH CLAIM FOR RELIEF
               (Unfair Competition under Utah Code Ann. § 13-5a-101, et seq.)

        87.     Plaintiff hereby incorporates by reference the allegations contained in the above

paragraphs.

        88.     Plaintiff has obtained nationwide common law rights in the CHIRP mark by

virtue of its nationwide use of the CHIRP mark in commerce.

        89.     The CHIRP mark is owned by Plaintiff.

        90.     Defendant has used and continues to use the Infringing Marks in connection with

the sale, offering for sale, distribution, or advertising of goods or services that are virtually

identical to Plaintiff’s products.

        91.     Defendant’s use of the Infringing Marks is not authorized and is likely to cause

confusion between the CHIRP mark and the Infringing Marks.

        92.     By reason of the foregoing, Defendant has engaged in unfair competition as

defined by Utah Code Ann. § 13-5a-103.

        93.     As a direct and proximate result of Defendant’s unauthorized use of the Infringing

Marks and unfair competition, Plaintiff has suffered damages in an amount to be proven at trial.

        94.     Defendant’s actions constitute willful and malicious or intentionally fraudulent

conduct, or conduct that manifests a knowing and reckless indifference toward, and disregard of,

the rights of Plaintiffs, which are therefore entitled to an award of punitive damages pursuant to

Utah Code §§ 78B-8-201 and 13-5a-103.




                                                  17
Case 2:22-cv-00239-DBB-CMR Document 2 Filed 04/06/22 PageID.20 Page 18 of 22




                                  FIFTH CLAIM FOR RELIEF
                                      (Breach of Contract)

         95.    Plaintiff hereby incorporates by reference the allegations contained in the above

paragraphs.

         96.    The Agreement is a valid and enforceable contract between Plaintiff and

Defendant.

         97.    Plaintiff performed all of its obligations under the Agreement.

         98.    Defendant has materially breached the Agreement, including by the marketing

and sale of the Chirp Wheel Pro, submitting the Second Plexus Yoga Application to the USPTO,

and submitting the Third Plexus Yoga Application to the USPTO.

         99.    Defendant’s breaches have directly and proximately caused Plaintiff to suffer

actual and consequential damages in an amount to be proven at trial.

         100.   Plaintiff is entitled to an injunction mandating Defendant’s specific performance

of the Agreement and prohibiting Defendant from further using the Infringing Marks.

         101.   Plaintiff is entitled to interest, costs, and expenses, including reasonable attorney

fees.

                              SIXTH CLAIM FOR RELIEF
                (Breach of Implied Covenant of Good Faith and Fair Dealing)

         102.   Plaintiff hereby incorporates by reference the allegations contained in the above

paragraphs.

         103.   Plaintiff performed all conditions and obligations under the Agreement as alleged

above.




                                                  18
Case 2:22-cv-00239-DBB-CMR Document 2 Filed 04/06/22 PageID.21 Page 19 of 22




        104.   Defendant is obligated not to destroy or injure Plaintiff’s right to receive the fruits

of the Agreement.

        105.   Defendant repeatedly and purposefully induced Plaintiff into conduct performed

pursuant to the Agreement, including withdrawing its opposition to the First Plexus Yoga

Application.

        106.   Defendant deliberately submitted the Second Plexus Yoga Application and Third

Plexus Yoga Application and using the Infringing Marks in connection with its Chirp Wheel Pro

product.

        107.   Defendant’s conduct was not in good faith, and is inconsistent with the agreed

common purposes of the Agreement and Plaintiff’s justified expectations.

        108.   As a direct and proximate result of Defendant’s breach of the implied covenant of

good faith and fair dealing, Plaintiff has been damaged in an amount to be proven at trial.

        109.   Plaintiff is entitled to interest, costs, and expenses, including reasonable attorney

fees.

                                    PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests the Court enter judgment against

Defendant as follows:

        1.        Grant permanent injunctive relief enjoining Defendant and each of its

principals, directors, agents, servants, employees, successors, and assigns, and all those in

privity, concert, or participation with them, from:




                                                 19
Case 2:22-cv-00239-DBB-CMR Document 2 Filed 04/06/22 PageID.22 Page 20 of 22




               a.          imitating, copying, duplicating, manufacturing, producing, circulating,

or otherwise making any use of the CHIRP mark, or any mark confusingly similar to the CHIRP

mark, including but not limited to the Infringing Marks;

               b.          using any unauthorized copy or colorable imitation of the CHIRP mark,

including but not limited to the Infringing Marks, or using any false designation of origin or

description, in such fashion as is likely to relate or connect Defendant with Plaintiff or cause

confusion;

               c.          engaging in any other activity constituting unfair competition or

infringement of the CHIRP mark or Plaintiff’s rights in, or to use, or to exploit the same; and

               d.          assisting, aiding, or abetting another person or business entity in

engaging or performing any of the activities enumerated in paragraphs (a) – (c) above.

       2.           Find that Defendant is liable for the causes of action alleged against it in this

Complaint.

       3.           Grant an order requiring Defendant and its principals, directors, agents,

servants, employees, successors, and assigns, and all those in privity, concert, or participation

with Defendant who receive actual notice of said order to deliver up, or at Plaintiff’s election

certify, the destruction of all promotional, advertising, product, packaging, and any other

materials of any kind bearing the Infringing Marks and any other mark confusingly similar to the

CHIRP mark.

       4.           Award to Plaintiff monetary damages in an amount to be fixed by the Court in

its discretion as just including, but not limited to, all of the Defendant’s profits or gains of any

kind resulting from Defendant’s willful infringement and/or acts of unfair competition, and any



                                                   20
Case 2:22-cv-00239-DBB-CMR Document 2 Filed 04/06/22 PageID.23 Page 21 of 22




damages Plaintiff suffered as a result of Defendant’s actions, said damages to be trebled, and

Plaintiff’s costs, exemplary damages, and reasonable attorney fees in view of the intentional

nature of the acts complained of in this Complaint and the exceptional nature of this case,

pursuant to 15 U.S.C. § 1117(a)-(b), and applicable common law, state statute and federal law,

including Utah Code Ann. §§ 13-5-14, 13-11-19, and 13-11a-4.

         5.        At Plaintiff’s election at any time prior to judgment in this matter, award to

Plaintiffs instead of actual damages, statutory damages as permitted under 15 U.S.C. § 1117(d).

         6.        Direct the USPTO to cancel any registration by Defendant of the Infringing

Marks.

         7.        Order Defendant to conduct corrective advertising sufficient to inform the

consuming public that there is no connection between Plaintiff and Defendant.

         8.        Award Plaintiff their attorneys’ fees and costs pursuant to 15 U.S.C. § 1117(a).

         9.        Award Plaintiff pre- and post-judgment interest on any monetary award made

part of the judgment against Defendant.

         10.       Grant to Plaintiff such other and further relief as the Court may deem just,

proper, and equitable under the circumstances.

                                   DEMAND FOR JURY TRIAL

         Plaintiff demands a trial by jury on all matters herein so triable.




                                                   21
Case 2:22-cv-00239-DBB-CMR Document 2 Filed 04/06/22 PageID.24 Page 22 of 22




      DATED this 6th day of April 2022.

                                          MCNEILL | VON MAACK




                                          Jason A. McNeill
                                          Eric K. Schnibbe
                                          B. Scott Allen

                                          Attorneys for Plaintiff Chirp Products, LLC




                                            22
